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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Dr. A, Nurse A., Dr. C., Nurse D.,
Dr. F., Dr. G., Therapist I., Dr. J.,
Nurse J., Dr. M., Nurse N., Dr. O.,
Dr. P., Technologist P., Dr. S.,
Nurse S., and Physician Liaison X.,

Plaintiffs,
-v- 1:21-CV-1009

KATHY HOCHUL, Governor of

the State of New York, in her
official capacity, DR. HOWARD A.
ZUCKER, Commissioner of the
New York State Department of
Health, in his official capacity, and
LETITIA JAMES, Attorney General
of the State of New York, in her
official capacity,

Defendants.

DAVID N. HURD
United States District Judge

ORDER
On August 26, 2021, the New York State Department of Health (“DOH”)
promulgated a regulation that mandates COVID-19 vaccination of health
care workers. This regulation requires personnel employed at general

hospitals and nursing homes to receive their first dose of a COVID-19 vaccine

 
 

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by September 27, 2021, and for personnel employed at other covered entities
to receive a vaccine by October 7, 2021. Unlike a previously applicable Public
Health Order, this new regulation excludes any religious exemption. The
named plaintiffs are seventeen medical professionals employed in the State of
New York who allege that their sincere religious beliefs compel them to
refuse the COVID-19 vaccines that are currently available.

On September 13, 2021, plaintiffs filed this 42 U.S.C. § 1983 action
alleging this “vaccination mandate” violates the First and Fourteenth
Amendments, the Supremacy Clause, and the Equal Protection Clause of the
U.S. Constitution. Plaintiffs sought to proceed pseudonymously. Plaintiffs
also moved for a temporary restraining order (“TRO”) and a preliminary
injunction that would enjoin defendants from, inter alia, enforcing the
vaccine mandate “to the extent it categorically requires health care
employers to deny or revoke religious exemptions from COVID-19 vaccination
mandates.”

Upon review of plaintiffs’ memorandum of law and supporting
documentation, it is

ORDERED that

1. Plaintiffs’ motion for a temporary restraining order is GRANTED;

2. Defendants, their officers, agents, employees, attorneys and successors
in office, and all other persons in active concert or participation with them,

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are temporarily ENJOINED from enforcing, threatening to enforce,
attempting to enforce, or otherwise requiring compliance with the vaccine
mandate such that:
(a) The vaccine mandate is suspended in operation to the extent that
the DOH is barred from enforcing any requirement that employers
deny religious exemptions from COVID-19 vaccination or that they
revoke any exemptions employers already granted before the vaccine
mandate issued;
(b) The DOH is barred from interfering in any way with the granting of
religious exemptions from COVID-19 vaccination going forward, or
with the operation of exemptions already granted;
(c) The DOH is barred from taking any action, disciplinary or
otherwise, against the licensure, certification, residency, admitting
privileges or other professional status or qualification of any of the
plaintiffs on account of their seeking or having obtained a religious
exemption from mandatory COVID-19 vaccination; and
(d) As noted supra, since the August 26, 2021 regulation does not
require hospital and nursing home employees to receive a vaccine until
September 27, 2021, the TRO does not, as a practical matter, go into

effect until that date.

 
 

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3. Plaintiffs shall serve defendants with (1) this Order; (2) the operative
complaint and supporting exhibits; and (3) the motion for a temporary
restraining order and preliminary injunction no later than Thursday,
September 16, 2021 at 12:00 p.m.;

4. Defendants are to advise the Court if they oppose plaintiffs’ request for
a preliminary injunction pending an expedited resolution of the merits of the
main issue for a permanent injunction;

5. If yes, defendants shall file and serve all submissions in opposition to
the plaintiffs’ motion for a preliminary injunction before Wednesday,
September 22, 2021 at 5:00 p.m.;

6. No reply is permitted;

7. Defendants shall further advise the Court if they oppose plaintiffs’
request to proceed pseudonymously;

8. If yes, defendants shall file and serve all submissions in opposition to
the plaintiffs’ request to proceed pseudonymously before Wednesday,
September 22, 2021 at 5:00 p.m.;

9. No reply is permitted; and

10. If yes, defendants shall SHOW CAUSE at an in-person oral argument
to be held at 10:00 a.m. on Tuesday, September 28, 2021 at the United States

Courthouse in Utica, New York why the TRO should not be converted to a

 
 

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preliminary injunction in accordance with Rule 65 of the Federal Rules of

Civil Procedure.

IT IS SO ORDERED. BNL

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Dated: September 14, 2021 at 10:00 a.m.
Utica, New York.

 
